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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

RAVIDATH LAWRENCE RAGBIR; NEW
SANCTUARY COALITION OF NEW YORK
CITY; CASA; DETENTION WATCH
NETWORK; NATIONAL IMMIGRATION
PROJECT OF THE NATIONAL LA WYERS
GUILD; and NEW YORK IMMIGRATION
COALITION,

Plaintiffs,

- against - 18-cv-1159(PKC)}

TAE JOHNSON, in his official capacity as Acting ORDER
Director of U.S. Immigration and Customs
Enforcement; THOMAS R. DECKER, in his official
capacity as New York Field Office Director for

U.S. Immigration and Customs Enforcement;
KENNETH GENALO, in his official capacity as New
York Deputy Field Office Director for U.S.

Immigration and Customs Enforcement; U.S.
IMMIGRATION AND CUSTOMS

ENFORCEMENT; ALEJANDRO MA YORKAS, in his
official capacity as Secretary of Homeland Security;
U.S. DEPARTMENT OF HOMELAND

SECURITY; MERRICK B. GARLAND, in his official
capacity as Attorney General of the United States;

and U.S. DEPARTMENT OF JUSTICE,

Defendants.

 

CASTEL, Senior District Judge
The Court is in receipt of a Proposed Stipulation and Order of Voluntary

Dismissal of this action (the “Proposed Order”). The Proposed Order would judicially restrain
certain actions by the executive branch, including its ability to execute a lawful order of removal,
and purports to modify an Order of Supervision not issued by this or, to the undersigned’s
knowledge, any Article I] Court, the Court declines to enter the Proposed Order as an Order of

this Court.

 
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The stipulation of the parties filed with the Court on December 16, 2021 (Doc
134) and executed on behalf of all parties to the action is an agreement by them to terminate this
action on terms and conditions to which they have freely agreed. It meets the requirements of
Rule 41(a)(1)(ii), Fed. R. Civ. P. Accordingly, on that basis, the Court ORDERS as follows:

The action is dismissed with prejudice and without costs or attorney's fees to
either party. The Clerk is respectfully directed to terminate the motion (Doc 11) and close the

case,

SO ORDERED,

P, Kevin Castel
United States District Judge

Dated: New York, New York
December 16, 2021

 
